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 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
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11   LUIS LICEA,                                       Case No. EDCV 20-2004 PA (AFMx)
12                         Plaintiff,                  JUDGMENT OF DISMISSAL
13
            v.
14
     QUICKSTART LEARNING, INC.,
15
                           Defendant.
16
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18          In accordance with the Court’s October 19, 2020 Minute Order dismissing the action
19   filed by plaintiff Luis Licea (“Plaintiff”) for lack of subject matter jurisdiction, it is
20   HEREBY ORDERED, ADJUDGED, AND DECREED that the action filed by Plaintiff is
21   dismissed without prejudice.
22
23    DATED: October 19, 2020                           ___________________________________
                                                                   Percy Anderson
24                                                        UNITED STATES DISTRICT JUDGE
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